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                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                             Jane K. Castro
 Clerk of Court                                                                 Chief Deputy Clerk
                                         April 19, 2022


  Mr. Wade P. K. Carr
  Mr. Stephen R. McAllister
  Dentons
  4520 Main Street, Suite 1100
  Kansas City, MO 64111-7700

  Mr. Jeffrey P. Colwell
  United States District Court for the District of Colorado
  Office of the Clerk
  Alfred A. Arraj U.S. Courthouse
  901 19th Street
  Denver, CO 80294-3589

  Mr. Adam W. Hofmann
  Hanson Bridgett
  425 Market Street, 26th Floor
  San Francisco, CA 94105
  RE:       21-1208, McWhinney Holding Company, et al v. McEwen
            Dist/Ag docket: 1:17-CV-02853-RBJ

 Dear Counsel and Clerk:

 Please be advised that the court issued an order today dismissing this case.

 In addition, pursuant to Federal Rule of Appellate Procedure 41, the Tenth Circuit's
 mandate issued today, and the court's judgment takes effect. With the issuance of this
 letter, jurisdiction is transferred back to the lower court/agency.

 Please contact this office if you have questions.
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                                      Sincerely,



                                      Christopher M. Wolpert
                                      Clerk of Court




  CMW/lg




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